Unclaimed Funds Report                                                               Page 1 of 3
    Case 15-12912 Doc 112           Filed 02/08/17 Entered 02/08/17 11:05:13     Desc Main
                                     Document     Page 1 of 3



                                    Unclaimed Funds
                                    Entered 2/8/2017 to 2/8/2017

       Case No./
                         Creditor                                  Amount      Entered
       Cred No.

       11-17341 -jnf     Patelco Credit Union                        180.96    02/08/2017
       18194946          PO Box 8020
                         Pleasanton, CA 94588
                         94588

       11-18716 -fjb     BOB OJUGBANA                                  2.00    02/08/2017
       19871710          239 NEPONSET VALLEY PARKWAY
                         HYDE PARK, MA 02136
                         02136

       11-18794 -jnf     First Citizens Federal Credit Union           5.05    02/08/2017
       18225627          200 Mill Road, Suite 100
                         Fairhaven, MA 02719

       11-19154 -jnf     Citibank CBSD NA                             32.84    02/08/2017
       18238646          701 E. 60th St., N
                         Sioux Falls, SD 57104
                         57104

       11-20932 -msh     IndyMac Bank                              5,029.25    02/08/2017
       18309954          PO Box 4045
                         Kalamazoo, MI 49003
                         49003

       11-21365 -jnf     Antoinette Rodney/ Rodney Realty Truste     261.58    02/08/2017
       18326545          c/o Davod H Abbott
                         Simonds, Winslow, Willis & Abbott
                         50 Congress Street, Suite 295
                         Boston, MA 02109
                         02109

       11-21517 -jnf     Thornton, Harwood & Weisenburger             29.10    02/08/2017
       18347416          PO Box 386
                         Norwalk, OH 44857
                         44857

       11-21596 -jnf     VERIZON NW E                                212.28    02/08/2017
       18334566          500 TECHNOLOGY DR.




https://ecf.mab.uscourts.gov/cgi-bin/UnclaimedReport.pl                                  2/8/2017
Unclaimed Funds Report                                                              Page 2 of 3
    Case 15-12912 Doc 112          Filed 02/08/17 Entered 02/08/17 11:05:13     Desc Main
                                    Document     Page 2 of 3

                         WELDON SPRING, MO 63304
                         63304

       12-15343 -msh     United Credit Recovery                      0.72     02/08/2017
       18704894          P.O. Box 953245
                         Lake Mary, FL 32795
                         32795

       13-16076 -fjb     REAL TIME RESOLUTIONS                   1,508.43     02/08/2017
       19871732          1750 REGAL ROW, SUITE 120
                         DALLAS, TX 75235
                         75235

       13-16347 -jnf     Siobhan Stackpole                        952.65      02/08/2017
       19141528          P.O Box 422
                         N. Truro, MA 02652
                         02652

       13-17039 -msh     First Citizens Fcu                          0.32     02/08/2017
       19169451          200 Mill Rd Ste 100
                         Fairhaven, MA 02719
                         02719

       15-12912 -jnf     MICHAEL THIBODEAU                      52,340.86     02/08/2017
       19871711          40 BROOK ST
                         SCITUATE, MA 02066
                         02066

       15-14442 -jnf     First Citizens Federal Credit Union      151.16      02/08/2017
       19632672          200 Mill Road, Suite 100
                         Fairhaven, MA 02719

       16-10194 -msh     DAVID BRANTON                            102.30      02/08/2017
       19871712          4 WESTON AVE., #4
                         BRAINTREE, MA 02184
                         02184

       16-10371 -msh     JOHN FEENEY                             1,523.55     02/08/2017
       19871713          96 ACADEMY HILL RD
                         BRIGHTON, MA 02135
                         02135

       16-10893 -msh     GAIL EVANS                              1,375.47     02/08/2017
       19871714          43 BICKNELL RD
                         NO. WEYMOUTH, MA 02191
                         02191




https://ecf.mab.uscourts.gov/cgi-bin/UnclaimedReport.pl                                2/8/2017
Unclaimed Funds Report                                                            Page 3 of 3
    Case 15-12912 Doc 112          Filed 02/08/17 Entered 02/08/17 11:05:13   Desc Main
                                    Document     Page 3 of 3


                                                                Grand Total: 63,708.52




https://ecf.mab.uscourts.gov/cgi-bin/UnclaimedReport.pl                              2/8/2017
